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 1    WILKINSON STEKLOFF LLP                         COVINGTON & BURLING LLP
      Brian L. Stekloff (pro hac vice)               Michael X. Imbroscio (pro hac vice)
 2    (bstekloff@wilkinsonstekloff.com)              (mimbroscio@cov.com)
      Rakesh Kilaru (pro hac vice)                   One City Center
 3    (rkilaru@wilkinsonstekloff.com)                850 10th St. NW
      2001 M St. NW, 10th Floor                      Washington, DC 20001
 4    Washington, DC 20036                           Tel: 202-662-6000
      Tel: 202-847-4030 | Fax: 202-847-4005
 5                                                   BRYAN CAVE LEIGHTON PAISNER LLP
      HOLLINGSWORTH LLP                              K. Lee Marshall (CA Bar No. 277092)
 6    Eric G. Lasker (pro hac vice)                  (klmarshall@bclplaw.com)
      (elasker@hollingsworthllp.com)                 Three Embarcadero Center, 7th Floor
 7    1350 I St. NW                                  San Francisco, CA 94111
      Washington, DC 20005                           Tel: 415-675-3400 | Fax: 415-675-3434
 8    Tel: 202-898-5843 | Fax: 202-682-1639
                                                     Jed P. White (CA Bar No. 232339)
 9                                                   (jed.white@bclplaw.com)
                                                     Linda C. Hsu (CA Bar No. 239880)
10                                                   (linda.hsu@bclplaw.com)
                                                     120 Broadway, Suite 300
11                                                   Santa Monica, CA 90401
      Attorneys for Defendant Monsanto Company       Tel: 310-576-2100 | Fax: 310-576-2200
12
                                UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14    IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
      LIABILITY LITIGATION
15                                                     Case No.: 3:16-md-02741-VC
16    Kenneth Eilmes et al. v. Monsanto Co.,
             Case No. 3:19-cv-05345-VC                 DEFENDANT MONSANTO
      Garfield Gordon v. Monsanto Co.,                 COMPANY’S SUPPLEMENTAL BRIEF
17
             Case No. 3:19-cv-06423-VC                 IN SUPPORT OF ITS MOTION TO
                                                       EXCLUDE TESTIMONY OF DR. KEVIN
18    Clyde Haase et al. v. Monsanto Co.,              KNOPF AND FOR SUMMARY
             Case No. 3:19-cv-05957-VC                 JUDGMENT; MOTION TO STRIKE DR.
19    Neal Hayden et al. v. Monsanto Co.,              KNOPF’S SUPPLEMENTAL EXPERT
             Case No. 3:19-cv-05600-VC                 REPORTS
20
      Carol Ann Huntley v. Monsanto Co.,
             Case No. 3:19-cv-06407-VC                 Hearing:
21
      Eduino Pinheiro v. Monsanto Co.,                 Date: TBD (if necessary)
             Case No. 3:21-cv-00041-VC                 Time: TBD
22                                                     Place: San Francisco Courthouse,
      Paula Pinheiro v. Monsanto Co.,                         Courtroom 4 – 17th Floor
23           Case No. 3:20-cv-08173-VC
      Dean Rowland v. Monsanto Co.
24           Case No. 3:19-cv-05310-VC
25    William Setzer v. Monsanto Co.,
             Case No. 3:17-cv-03448-VC
26    Robert Wistinghausen v. Monsanto Co.,
             Case No. 3:20-cv-00027-VC
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 1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE THAT at a date and time to be determined by the Court (if
 3    necessary) in Courtroom 4 of the United States District Court, Northern District of California,
 4    located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the Court,
 5    Defendant Monsanto Company (“Monsanto”) will present its Motion to Strike Dr. Kevin
 6    Knopf’s Supplemental Reports. Monsanto seeks an order striking the supplemental reports Dr.
 7    Knopf has submitted after the expert report deadline in this action and in violation of Federal
 8    Rules of Civil Procedure 26(a)(2)(C) and 26(e).
 9

10    Dated: September 13, 2024                  Respectfully submitted,
11                                               BRYAN CAVE LEIGHTON PAISNER LLP
12
                                                 By: /s/ Linda C. Hsu
13                                                      Linda C. Hsu
                                                 Attorneys for Defendant Monsanto Company
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 1    I.    INTRODUCTION
 2           Monsanto moved to exclude Dr. Knopf’s testimony in 16 cases on August 9, 2024
 3    (ECF18993) and another seven cases on August 16, 2024 (ECF19048). As of August 16th,
 4    however, Monsanto had not received all the transcripts from Dr. Knopf’s depositions in nine of
 5    those cases because his depositions were continued past the discovery cutoff and took place
 6    from August 10–30, 2024. See Declaration of Linda C. Hsu in support of Defendant Monsanto
 7    Company’s Supplemental Brief Regarding Motion To Exclude Testimony Of Dr. Kevin Knopf
 8    And For Summary Judgment; Motion to Strike Dr. Knopf’s Supplemental Reports (“Hsu Decl.”)
 9    ¶ 2. This brief supplements Monsanto’s two earlier motions with information from those
10    depositions, and moves to strike Dr. Knopf’s late supplemental reports.
11    II.   ARGUMENT
12           During the September 6, 2024 evidentiary hearing related to Monsanto’s motion to
13    exclude Dr. Knopf in the Beckfield matter, Dr. Knopf made much to do about how his analysis
14    has improved with each expert report he submits. But despite any improvement, his analyses
15    continue to be spotty and inconsistent. His depositions reveal, primarily, that Dr. Knopf has
16    improved at making after-the-fact justifications for errors and omissions in his reports.
17          A.      Dr. Knopf’s purported exposure methodology remains unreliable.
18           Monsanto preserves its arguments that Dr. Knopf’s opinions should be excluded because
19    his exposure analysis is unreliable. Dr. Knopf continues to inconsistently rule in Roundup as a
20    potential cause of Plaintiffs’ cancers based on crude estimates of the amount of days each
21    Plaintiff self-reported using Roundup. At no point did Dr. Knopf attempt to determine either
22    the amount of glyphosate an ordinary person, or a specific Plaintiff, would or did absorb. See
23    Ex. 45 Eilmes Dep. at 8:13–18, 32:1–18; Ex. 46 Gordon Dep. at 25:9–26:9, 107:17–108:19; Ex.
24    47 Haase Dep. at 48:19–49: 25; Ex. 48 Hayden Dep. at 7:25–8:6; Ex. 49 P. Pinheiro Dep. at
25    17:23–18:23; Ex. 50 E. Pinheiro Dep. 27:4–11; Ex. 52 Setzer Dep. 11:13–18; Ex. 53
26    Wistinghausen Dep. 11:8–15, 32:9–17.1
27
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       Exhibit Nos. 1–44 are intentionally omitted to avoid duplication with exhibits filed
28    concurrently with Defendant Monsanto Company’s Motion to Exclude the Testimony of Dr.
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 1          B.      Dr. Knopf fails to “rule out” potential causes of Plaintiffs’ lymphomas.
 2           Dr. Knopf consistently fails to reliably “rule out”—or even consider—potential causes
 3    of Plaintiffs’ NHL. Clausen v. M/V New Carissa, 339 F.3d 1049, 1057 (9th Cir. 2003); In re
 4    Lipitor Mktg., Sales Practices & Prods. Liab. Litig., 892 F.3d 624, 645 (4th Cir. 2018);
 5    Westberry v. Gislaved Gummi AB, 178 F.3d 257, 265 (4th Cir. 1999) (“A differential diagnosis
 6    that fails to take serious account of other potential causes may be so lacking that it cannot
 7    provide a reliable basis for an opinion on causation.”).
 8           Kenneth Eilmes, Jr. was diagnosed with Follicular Lymphoma in 2019. Ex. 31 Eilmes
 9    Rpt. at 7–8. Monsanto moved to exclude Dr. Knopf’s testimony concerning Mr. Eilmes in
10    compliance with the deadlines, but before receiving the transcript of his deposition. Hsu Decl.
11    ¶ 2; see August 16, 2024 Motion to Exclude Knopf at ECF19048 (“8/16 Knopf MTE”) at 11–
12    12. Dr. Knopf’s deposition confirms that he failed to reliably address at least four risk factors:
13            1.    Gender—Dr. Knopf opines that men are more at risk for NHL generally, but
14    women are more at risk for follicular lymphoma. Ex. 31 Eilmes Rpt. at 17 (“The risk of
15    lymphoma is slightly higher in males than females with a relative risk of 1.2 (Cerhan).
16    However, there is a female predominance of this subtype of NHL [follicular lymphoma] (of the
17    thyroid).”2); Ex. 32 Gordon Rpt. at 16 (“the NHL subtype Follicular Lymphoma seems to have
18    a female predominance compared to men.”). Yet he opines Mr. Eilmes, a man, was more at risk
19    of follicular lymphoma because of his gender. Ex. 31 Eilmes Rpt. at 32; Ex. 45 Eilmes Dep. at
20    11:24–12:2 (“Yes, he’s more likely associated with male than females. And he is male.”). This
21    contradiction renders his opinion unreliable.
22            2.    Family History—Dr. Knopf recognizes: “There is epidemiological evidence
23    linking a family history of NHL or myeloid leukemias with an increased risk of developing non-
24    Hodgkin’s lymphoma (Altieri).” Ex. 31 Eilmes Rpt. at 18; Ex. 45 Eilmes Dep. at 21:22–25
25

26    Kevin Knopf filed on August 9, 2024 at ECF18993 and Defendant Monsanto Company’s
      Motion to Exclude the Testimony of Dr. Kevin Knopf filed on August 16, 2024 at ECF19048.
27    2
        Mr. Eilmes’s follicular lymphoma presented in his abdomen, not his thyroid. Ex. 31 Eilmes
      Rpt. at 7–8. Identical language appears in Dr. Knopf’s report for Ms. Pinheiro, who developed
28    DLBCL in her thyroid. Ex. 36 P. Pinheiro Rpt. at 17.
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 1    (“there is epidemiological literature showing an increased risk of hematologic malignancies
 2    when first-degree relatives have a hematologic malignancy.”). Dr. Knopf reported: “Mr. Eilmes
 3    had a first-degree relative die of cancer (unknown type) at age 72—this played a very minor role
 4    in increasing his risk of developing NHL.” Ex. 31 Eilmes Rpt. at 32; see 8/16 Knopf MTE at
 5    12. Mr. Eilmes’s records indicate that his father not only had cancer, but had multiple myeloma,
 6    a hematological malignancy. Ex. 44 Eilmes Rcrd. at 5. Dr. Knopf did not consider Mr. Eilmes’s
 7    father’s hematological malignancy in his report. Ex. 45 Eilmes Dep. at 21:11–13 (Q…Are you
 8    aware that Mr. Eilmes’s father had multiple myeloma? A. I am now.”). After learning about
 9    Mr. Eilmes’s first-degree relative with myeloma during his deposition, Dr. Knopf made three
10    after-the-fact justifications: (1) that “I don’t have any history of his father,” id. at 21:21; (2) that
11    “the odds ratio will go up as the number of first-degree relatives go up,” id. at 23:18–19; and (3)
12    that the odds ratio would be higher if Mr. Eilmes and his father were diagnosed at similar ages,
13    id. at 23:19–24. The first point is Dr. Knopf’s fault. The second two merely describe situations
14    where family history would be more of a risk factor. None of Dr. Knopf’s arguments salvage
15    his failure to reliably assess Mr. Eilmes’s family history as part of his purported differential
16    diagnosis.
17            Dr. Knopf also submitted a supplemental report after his deposition, claiming he
18    confirmed with Mr. Eilmes that his father was diagnosed with bone cancer. Ex. 54 Eilmes Supp.
19    Rpt. at 1. The supplemental report does not acknowledge the existence of, let alone seek to
20    explain, the medical record showing his father developed multiple myeloma. See Ex. 44 Eilmes
21    Rcrd. at 5. And Dr. Knopf’s supplemental report is procedurally improper under this Court’s
22    scheduling order, because the information about Mr. Eilmes’s father’s medical history was
23    available during the discovery process. See Fed. R. Civ. P. 26(a)(2)(C) (disclosures must be
24    submitted “at the times and in the sequence that the court orders.”); Fed. R. Civ. P. 26(e)
25    (permitting supplementation only “if the additional or corrective information has not otherwise
26    been made known to the other parties during the discovery process or in writing”); Luke v.
27    Family Care and Urgent Med. Clinics, 323 Fed.Appx. 496, 500 (9th Cir. 2009) (Rule 26(e) is
28    not “a loophole through which a party who...wishes to revise her disclosures in light of her
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 1    opponent’s challenges to the analysis and conclusions therein, can add to them to her advantage
 2    after the court’s deadline.”); Sherwin-Williams Co. v. JB Collision Servs., Inc., 2015 WL
 3    1119406, at *7 (S.D. Cal. Mar. 11, 2015) (“supplementation does not cover failures of omission
 4    because the expert did an inadequate or incomplete preparation... To construe supplementation
 5    to apply whenever a party wants to bolster or submit additional expert opinions would wreak
 6    havoc in docket control and amount to unlimited expert opinion preparation.” (internal
 7    quotations omitted)). Dr. Knopf’s supplemental report should be stricken, or in the alternative,
 8    disregarded.
 9             3.    Tobacco Use—Dr. Knopf failed to reliably consider Mr. Eilmes’s 30-year
10    smokeless tobacco use. See Ex. 31 Eilmes Rpt. at 33 (“Mr. Eilmes did not smoke.”); Ex. 45
11    Eilmes Dep. at 13:5–14 (same); 8/16 Knopf MTE at 12 (citing Bracci & Holli, finding a 4.0
12    odds ratio for smokeless tobacco and NHL). Dr. Knopf considered chewing tobacco as a
13    potential cause only after reviewing the defense expert’s report. Id. at 16:8–16 (“When I wrote
14    the report in June, I must have missed that he chewed tobacco or I just didn’t think that there
15    was any reason to bring it up…When I saw the defense report, I went online and maybe found
16    some relationship. But I’m still not really believing it.”). Dr. Knopf’s belated and subjective
17    incredulity is unreliable as a basis to rule out this potential cause.
18             4.    Chemical Exposures—Dr. Knopf failed to reliably consider Mr. Eilmes’s nearly
19    30-year exposure to other pesticides, especially 2, 4-D products, which are known carcinogens.
20    8/16 Knopf MTE at 12; Ex. 45 Eilmes Dep. at 24:6–31:25. As the Court has made clear, a
21    reliable methodology must consider exposure to other pesticides; and Dr. Knopf admitted 2, 4-
22    D “has been in several of the studies I’ve reviewed as a potential causative agent for NHL.” Ex.
23    45 Eilmes Dep. at 33:8–11. Dr. Knopf reported Mr. Eilmes used 2, 4-D “in very small amounts
24    compared to his total dose of Roundup.” Ex. 31 Eilmes Rpt. at 33; see also Ex. 45 Eilmes Dep.
25    at 32:16–18 (testifying Mr. Eilmes used “substantially more” Roundup than 2, 4-D pesticides);
26    id. at 33:2–3 (“I ran away from this [Plaintiff’s deposition] thinking that he’d used less [2, 4-D
27    products].”). In fact, Mr. Eilmes testified he used about the same amount of each kind of
28    pesticide. Ex. 42 Plaintiff Eilmes Dep. at 180:4–9; 182:9–22; 184:15–20. Dr. Knopf ultimately
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 1    admitted: “I guess I might have underestimated how much 2, 4-D he used based on that one line
 2    in his deposition.” Id. at 33:17–19. When asked if he could rule out 2, 4-D as a potential cause
 3    of Mr. Eilmes’s follicular lymphoma, he evaded:
 4                  I don’t think that causation is just one thing causing it except in
                    physics or some other disease states. I think causation is
 5                  multifactorial. And any one type of pesticide or herbicide that
                    causes NHL can contribute to the probability of NHL.
 6

 7    Id. at 34:13–18; see also id. at 34:25–36:2 (“I actually wish I could have asked him more about

 8    how much he used it, to quantify it.”).3

 9           Dr. Knopf’s unreliable opinions about Mr. Eilmes’s gender, family history, tobacco use,

10    and other pesticide exposures render his opinions and testimony inadmissible.

11           Garfield Gordon was diagnosed with Follicular Lymphoma in or around 2014. Ex. 32

12    Gordon Rpt. at 6–7. Monsanto moved to exclude Dr. Knopf’s testimony concerning Mr.

13    Gordon before receiving the deposition transcript. Hsu Decl. ¶ 2; see August 16, 2024 Motion

14    to Exclude Knopf at 8/16 Knopf MTE at 13. Dr. Knopf’s deposition confirms three flaws in his

15    purported differential diagnosis:

16            1.    Gender—Like Mr. Eilmes, Dr. Knopf opines Mr. Gordon is at a greater risk of

17    NHL because he is male, despite opining elsewhere that women are more likely to develop

18    follicular lymphoma. Compare Ex. 46 Gordon Dep. at 95:17–20 with 8/16 Knopf MTE at 11–

19    12.

20            2.    Ethnicity—Dr. Knopf reported Mr. Gordon was Caucasian. Ex. 32 Gordon Rpt.

21    at 29; Ex. 46 Gordon Dep. at 95:13–20. Mr. Gordon is African American. Id. at 95:21–97:7;

22    Ex. 55 Gordon Rcrd. at 1.

23            3.    Family History—Other than Dr. Knopf’s apparent error in reporting Mr. Gordon’s

24    sister has Grave’s disease, 8/16 Knopf MTE at 13 (citing Ex. 32 Gordon Rpt. at 30), he did not

25    report any other family history of cancer, id. In fact, Mr. Gordon’s half-brother developed lung

26    cancer and his mother developed colon and breast cancer. Ex. 46 Gordon Dep. at 94:14–17.

27
      3
        Dr. Knopf apparently confirmed Mr. Eilmes’s use of 2, 4-D after the deposition in his
28    improperly-submitted supplemental report. Ex. 54 Eilmes Supp. Rpt. at 1.
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 1    Dr. Knopf has acknowledged studies linking non-hematopoeitic malignancy to NHL, but states:
 2    “this is not uniformly agreed upon in the literature (Zhu K).” Ex. 32 Gordon Rpt. at 16.
 3    Nevertheless, having recognized family history of cancer as a potential cause, he should have
 4    investigated.
 5           Dr. Knopf’s inconsistent, erroneous, and incomplete opinions concerning Mr. Gordon’s
 6    gender, ethnicity, and family history render his opinions unreliable.
 7           Caryl Ann Haase was diagnosed with Follicular Lymphoma in 2000. Ex. 33 Haase
 8    Rpt. at 7–8. Monsanto moved to exclude Dr. Knopf’s testimony concerning Ms. Haase before
 9    receiving Dr. Knopf’s deposition transcript. Hsu Decl. ¶ 2; see 8/16 Knopf MTE at 13–14. Dr.
10    Knopf’s deposition confirms two flaws in his analysis of potential risk factors:
11            1.      Gender—Using identical language in his Eilmes Report, Dr. Knopf reported NHL
12    was more common in men, but “there was a female predominance of this subtype of NHL (of
13    the thyroid).” Ex. 33 Haase Rpt. at 16. Dr. Knopf reported she was diagnosed with
14    lymphadenopathy “in her right leg right groin left neck.” Id. at 7. In other words, even if Ms.
15    Haase’s thyroid was involved, that would make Dr. Knopf’s copy-and-paste opinion only
16    fortuitously accurate. During his deposition, he changed his opinion, testifying: “I think
17    follicular lymphoma, particularly B-cell lymphoma, is still more common in males than
18    females.” Ex. 47 Haase Dep. at 67:2–4. As discussed above, this is inconsistent with his other
19    reports. See 8/16 Knopf MTE at 11–12.
20            2.      Family History— A family history of non-hematologic malignancies is associated
21    with NHL. See Ex. 35 Huntley Rpt. at 18 (“There is some data linking the family history of
22    non-hematologic malignancies to an increased risk of developing NHL—this is somewhat
23    debatable.”); Ex. 62 McDuffie 2001 at 1157 (showing OR 1.31 (1.05–1.62) for family history
24    of cancer and NHL). Dr. Knopf reported Ms. Haase had “a family history of lung cancer, which
25    was caused by smoking.” Ex. 33 Haase Rpt. at 31. He discounted that as a risk factor. Id.; Ex.
26    47 Haase Dep. at 68:4–71:14. Yet he was unable to identify any specific facts or data to show
27    Ms. Haase’s father smoked. Ex. 47 Haase Dep. at 71:16–72:3 (“It was in the medical records
28    at some point.”). It appears to be pure speculation.
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 1           Dr. Knopf’s inconsistent opinions about gender and his unsupported basis for
 2    discounting her family history of cancer render his opinion unreliable.
 3           Neal Allen Hayden was diagnosed with Follicular Lymphoma in 2011. Ex. 34 Hayden
 4    Rpt. at 7. Monsanto moved to exclude Dr. Knopf’s testimony concerning Mr. Gordon before
 5    receiving the deposition transcript. Hsu Decl. ¶ 2; see 8/16 Knopf MTE at 14. Dr. Knopf’s
 6    deposition confirms four flaws in his purported differential diagnosis:
 7            1.    Gender—Dr. Knopf inconsistently opines whether women or men are more likely
 8    to develop follicular lymphoma. Compare Ex. 48 Hayden Dep. at 11:18–19 with 8/16 Knopf
 9    MTE at 14.
10            2.    Obesity—Obesity is a potential risk factor for NHL. Ex. 34 Hayden Rpt. at 33;
11    Ex. 48 Hayden Dep. at 14:21–15:1, 17:19–24 (“[Obesity is] one of the putative risk factors for
12    NHL, yes.”). Dr. Knopf calculated Mr. Hayden’s Body Mass Index as 25.2 at the time of his
13    diagnosis—overweight, but not obese. Ex. 34 Hayden Rpt. at 19; Ex. 48 Hayden Dep. at 15:7–
14    13. In fact, Mr. Hayden’s BMI was over 30 at the time of his diagnosis. See Ex. 43 Hayden
15    Rcrd. at 3; Ex. 48 Hayden Dep. at 15:14–17:7 (“A. He was mildly obese.”).
16            3.    Eczema—Dr. Knopf admitted “there can be associations from eczema and non-
17    Hodgkin’s lymphoma. Ex. 48 Hayden Dep. at 21:5–6; see ECF18993-5 Casale Rpt. at 31 (“By
18    strict definition eczema is NOT an autoimmune condition; however, some studies show an
19    increased risk of NHL in eczema patients.”). Mr. Hayden was diagnosed with eczema in 2004.
20    Ex. 48 Hayden Dep. at 21:8–10. Dr. Knopf did not discuss eczema in his report.
21            4.    Viruses—Viruses are a potential risk factor for NHL. Ex. 34 Hayden Rpt. at 18
22    (noting, by example, HTLV-1, HIV, and HHV-8); Ex. 48 Hayden Dep. at 23:13–14 (“Some
23    viruses are associated with the development of NHL, yes.”). Mr. Hayden was diagnosed with
24    shingles (herpes zoster). Ex. 48 Hayden Dep. at 26:2–14. Dr. Knopf did not address Mr.
25    Hayden’s shingles in his report. At his deposition, he argued that he did not consider shingles
26    to be associated with NHL, but was unaware of two studies showing statistically significant
27    elevated risk ratios for shingles and NHL. Id. at 27:11–33:2; Ex. 57 Cartwright 1988; Ex. 58
28    La Vecchia 1992.
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 1           Dr. Knopf’s inconsistent opinion about gender, error in assessing Mr. Hayden’s BMI,
 2    and failure to consider his history of eczema or shingles render Dr. Knopf’s opinions unreliable.
 3           Carol Ann Huntley was diagnosed with Follicular Lymphoma in 2013. Ex. 35 Huntley
 4    Rpt. at 7; Ex. 38 Huntley Dep. at 10:10–15. Monsanto received her deposition transcript before
 5    its prior motion. See 8/16 Knopf MTE at 14–15. The same day, however, Dr. Knopf submitted
 6    a supplemental expert report. Ex. 55 Huntley Supp. Rpt. at 1. As with his other supplemental
 7    report, this untimely report should be stricken. See, e.g., Luke, 323 Fed.Appx. at 500.
 8           Paula Pinheiro was diagnosed with diffuse large B-cell lymphoma (DLBCL) in 2020.
 9    Ex. 36 P. Pinheiro Rpt. at 6–7. Monsanto moved to exclude Dr. Knopf’s testimony concerning
10    Ms. Pinheiro before receiving Dr. Knopf’s deposition transcript. Hsu Decl. ¶ 2; see 8/16 Knopf
11    MTE at 16. Dr. Knopf’s deposition confirms he did not reliably consider Ms. Pinheiro’s family
12    history.
13               1.   Family History—Dr. Knopf reported Ms. Pinheiro had two first-degree relatives
14    with non-hematopoietic malignancies—a father with prostate cancer and a sister with lung
15    cancer—and that studies link non-hematopoietic malignancies in a family member to NHL. Ex.
16    36 P. Pinheiro Rpt. at 31. At deposition, Dr. Knopf acknowledged Ms. Pinheiro’s medical
17    records also showed her mother died from cancer in her 30s. Ex. 49 P. Pinheiro Dep. at 59:1–
18    20. He further admitted “we don’t know what kind of cancer that was.” Id. at 60:25–61:1.
19           Eduino Pinheiro was diagnosed with follicular lymphoma and diffuse large B-cell
20    lymphoma (DLBCL) around 2019. Ex. 37 E. Pinheiro Rpt. at 30; Ex. 50 E. Pinheiro Dep. at
21    37:3–38:6. Monsanto moved to exclude Dr. Knopf’s testimony concerning Mr. Pinheiro before
22    receiving Dr. Knopf’s deposition transcript. Hsu Decl. ¶ 2; see 8/16 Knopf MTE at 16–17. Dr.
23    Knopf’s deposition confirms he unreliably ruled out Mr. Pinheiro’s obesity and chemical
24    exposures.
25               1.   Obesity—Dr. Knopf recognizes that obesity is a “potential risk factor” for NHL.
26    Ex. 37 E. Pinheiro Rpt. at 32; see also Ex. 50 E. Pinheiro Dep. at 91:16–99:17; see, e.g., Ex. 59
27    Larsson 2007 (meta-analysis linking obesity and NHL). He reported that Mr. Pinheiro was
28    “overweight.” Ex. 37 E. Pinheiro Rpt. at 32. At deposition, he admitted he had not calculated
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 1    Mr. Pinheiro’s BMI because he did not know Mr. Pinheiro’s height. Ex. 50 P. Pinheiro Dep.
 2    78:17–18. Upon being presented with additional medical records, Dr. Knopf admitted: “His
 3    BMI was over 30…the BMI of 30 to 35 is commonly referred to as obese.” Id. at 85:23–25.
 4    Dr. Knopf further admitted he did not know Mr. Pinheiro’s BMI during his adolescent years,
 5    which Dr. Knopf opined was specifically associated with NHL. Id. at 86:17–18.
 6            2.    Chemical Exposures—Dr. Knopf reported: “Mr. Pinheiro had used insecticides,
 7    specifically to control flies on occasion – he had no exposure to other herbicides or other
 8    chemicals besides Roundup. This may be a very minor contribution to risk.” Ex. 37 E. Pinheiro
 9    Rpt. at 32. Dr. Knopf, however, testified he was aware that Mr. Pinheiro testified he used the
10    herbicides Farm Tek Buccaneer and Gly Star Plus. Ex. 50 E. Pinheiro Dep. at 101:17–21. He
11    did not consider these exposures in his analysis.
12           Dr. Knopf’s error in calculating Mr. Pinheiro’s BMI and failure to consider his herbicide
13    exposure render his opinions unreliable.
14           Dean Rowland was diagnosed with Diffuse Large B-Cell Lymphoma (DLBCL) in
15    2018. Ex. 11 Rowland Rpt. at 6. Monsanto moved to exclude Dr. Knopf’s testimony
16    concerning Mr. Pinheiro before receiving Dr. Knopf’s deposition transcript. Hsu Decl. ¶ 2; see
17    8/16 Knopf MTE at 15–16. Dr. Knopf’s deposition demonstrates additional critical flaws in
18    his analysis of potential causes:
19            1.    Family History—A family history of non-hematologic malignancies is associated
20    with NHL. See Ex. 35 Huntley Rpt. at 18. Dr. Knopf is skeptical, but acknowledges the
21    McDuffie study—which he relies on for other end points—shows an elevated risk. Ex. 51
22    Rowland Dep. at 46:21–47:16 (“If you query a bunch of medical oncologists is a family history
23    of prostate cancer a risk factor for lymphoma, they would say no. I can’t think of any medical
24    colleagues that would say yes apart from those who may have reviewed those studies who would
25    acknowledge there was a relative risk ratio in some of those studies.”); id. at 49:3–53:20
26    (admitting McDuffie does not distinguish hematologic vs. non-hematologic cancers); Ex. 62
27    McDuffie 2001 at 1157 (showing OR 1.31 (1.05–1.62) for family history of cancer and NHL).
28    Dr. Knopf reported: “Mr. Rowland had no relatives with a family history of NHL or leukemia
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 1    – thus his risk for developing NHL was not elevated.” Ex. 11 Rowland Rpt. at 33. At
 2    deposition, however, he acknowledged Mr. Rowland’s “family had solid tumors in their family
 3    history.” Ex. 51 Rowland Dep. at 46:16–20 (Mr. Rowland’s father had prostate cancer). Dr.
 4    Knopf’s failure to consider that risk factor makes his opinion unreliable.
 5            2.    Roundup Exposure—Dr. Knopf admitted that use of personal protective
 6    equipment (PPE) was relevant to his exposure analysis. Id. at 71:10–12. He did not mention
 7    whether Mr. Rowland used PPE and testified that he did not believe Mr. Rowland used it. Id.
 8    at 71:15–16 (“I don’t believe he used a lot of PPE.”). Dr. Knopf, however, then acknowledged
 9    that Mr. Rowland testified to wearing long pants, nitrile and leather gloves, and safety glasses
10    when mixing and spraying Roundup. Id. at 73:7–74:12. Even though these cases have focused
11    on dermal exposure, Dr. Knopf responded: “If I were for some reason forced to spray Roundup
12    or mix it in a container, I would wear a gas mask.” Id. at 74:15–22. That response is both
13    unscientific and prejudicial. Dr. Knopf then testified that he reported Mr. Rowland’s exposure
14    was sufficient “despite using some PPE.” Id. at 75:18–20. His report says no such thing. See
15    Ex. 11 Rowland Rpt. at 9–10.
16           Dr. Knopf’s failure to address Mr. Rowland’s family history of cancer and his ignorance
17    of Dr. Rowland’s use of PPE render his opinions unreliable.
18           William Setzer was diagnosed with Diffuse Large B-Cell Lymphoma (DLBCL) in
19    2016. Ex. 12 Setzer Rpt. at 6. Monsanto moved to exclude Dr. Knopf’s testimony concerning
20    Mr. Setzer before receiving Dr. Knopf’s deposition transcript. Hsu Decl. ¶ 2; see August 9,
21    2024 Motion to Exclude Knopf at ECF18993 at 16. Dr. Knopf’s deposition confirmed:
22            1.    Family History—Dr. Knopf acknowledges that a family history of non-
23    hematological malignancies is a potential risk factor for NHL, but did not report whether Mr.
24    Setzer had such a family history. Ex. 12 Setzer Rpt. at 35. Mr. Setzer’s father had stomach
25    cancer. Ex. 52 Setzer Dep. at 20:23–21:21 (“Q. You didn’t include that his father had stomach
26    cancer in your report, right? A. It must have been an oversight.”).
27            2.    Diabetes—Diabetes is a potential risk factor for NHL. Ex. 12 Setzer Rpt. at 23.
28    Dr. Knopf testified he knew Mr. Setzer was diagnosed with diabetes. Ex. 52 Setzer Dep. at
                                                     10
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 1    28:2–5. He did not address Mr. Setzer’s diabetes in his report, testifying he did not believe it
 2    was a risk factor. Id. at 28:11–30:2.
 3             3.   Obesity—Obesity is a risk factor for NHL. Ex. 12 Setzer Rpt. at 36; Ex. 52 Setzer
 4    Dep. at 30:9–22. Dr. Knopf reported Mr. Setzer had a BMI of 26.8. Ex. 12 Setzer Rpt. at 36.
 5    In fact, Mr. Setzer’s BMI for the four years before his diagnosis was above 38. Ex. 52 Setzer
 6    Dep. at 32:14–16 (…given that he’s obese, that’s an error in my report.”). Dr. Knopf did not
 7    know Mr. Setzer’s weight as a young adult or in adolescence. Id. at 32:22–33:3.
 8             4.   Eczema—Dr. Knopf has acknowledged eczema is associated with NHL. Id. at
 9    34:10–13. His report does not mention eczema. Dr. Knopf agreed, however, that Mr. Setzer
10    was diagnosed with eczema in 2004. Id. at 34:19–36:23.
11             5.   Common Variable Immunodeficiency (“CVID”)—Immunodeficiency is a
12    potential risk factor for NHL. Ex. 12 Setzer Rpt. at 21–22; Ex. 52 Setzer Dep. at 39:2–4. Dr.
13    Knopf reported Mr. Setzer did not have any immunodeficiency. Ex. 12 Setzer Rpt. at 35. Mr.
14    Setzer had CVID. Ex. 52 Setzer Dep. at 36:25–38:18. Dr. Knopf commented: “That’s
15    interesting,” id. at 38:17, and “I would consider that a risk factor, but I have to review his
16    medical record more extensively to see why that was diagnosed in 2014 and not mentioned in
17    my review,” id. at 40:2–5.
18             6.   Genetic Variants—A compound heterozygous pathogenic variant in the ATM
19    gene can be associated with an increased risk of lymphoma directly, or indirectly by causing
20    immunodeficiency. Ex. 52 Setzer Dep. at 44:2–9. Mr. Setzer’s genetic testing report found a
21    heterozygous pathogenic variant in his ATM gene. Ex. 52 Setzer Dep. at 42:19–25. Dr. Knopf
22    did not address this potential risk factor in his report. Id. at 44:14–16 (“No. No, I think I’ll issue
23    an addendum.”). He also did not rule it out. Id. at 44:20–23 (“I think that’s a – that’s a
24    potentially causative factor. I think that’s a significant genetic finding, but I would need to think
25    about it a little bit more.”). He has not submitted a supplemental report, nor should he be
26    permitted to do so.
27            Dr. Knopf’s failure to reliably address six different risk factors for Mr. Setzer renders
28    his opinions unreliable and his testimony inadmissible.
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 1           Robert Wistinghausen was diagnosed with chronic lymphocytic leukemia (CLL) in
 2    2019. Ex. 16 Wistinghausen Rpt. at 6. Monsanto moved to exclude Dr. Knopf’s testimony
 3    concerning Mr. Wistinghausen before receiving Dr. Knopf’s deposition transcript. Hsu Decl.
 4    ¶ 2; see August 9, 2024 Motion to Exclude Knopf at ECF18993 at 19.
 5            1.    Age—Age is a risk factor for NHL; most NHL occurs in people over the age of
 6    60. Ex. 16 Wistinghausen Rpt. at 18. Dr. Knopf reported Mr. Wistinghausen was 53 at the time
 7    of his diagnosis, “below the median age in the 60s. Thus, this demographic factor did not
 8    apply.” Id. at 32. In fact, he was 56. Ex. 53 Wistinghausen Dep. at 17:3–21 (“I mistakenly
 9    wrote 53. It must have been late at night when I wrote that…he’s probably around the median
10    age, within one sigma.”). Dr. Knopf did not adjust his opinion based on changing his assessment
11    from “below the mean” to “within one sigma.”
12            2.    Family History—A family history of non-hematologic malignancies is associated
13    with NHL. See Ex. 35 Huntley Rpt. at 18; Ex. 62 McDuffie 2001 at 1157 (showing OR 1.31
14    (1.05–1.62) for family history and NHL). Dr. Knopf reported Mr. Wistinghausen had “a family
15    history of several malignancies including lung and possible liver cancer,” Ex. 16 Wistinghausen
16    Rpt. at 33, but did not state how that family history affected his analysis. In fact, Mr.
17    Wistinghausen had four close relatives who developed cancer. See Ex. 53 Wistinghausen Dep.
18    at 19:6–20:2. Dr. Knopf offered the following after-the fact justification for not considering Mr.
19    Wistinghausen’s family history of cancer:
20                  I don’t know of any genetic syndromes linking solid tumors such as
                    those to the increased risk of developing NHL. I think, having had
21                  discussions with Monsanto attorneys who’ve shown me some of
                    those papers, that, if I’m writing a report now, I would acknowledge
22                  that there’s a family history of non-hematologic malignancies and
                    say that I don’t think it was a contributing risk factor. But I did not
23                  at the time that this report was written. In part, because those studies
                    are not typically discussed by oncologists, but I was made aware of
24                  them by Monsanto plaintiff – Monsanto defense attorneys, such as
                    yourself.
25

26    Id. at 20:19–21:7.
27            3.    Personal History—An earlier form of cancer is associated with a higher risk of
28    later developing NHL. Id. at 22:7–10 (“It might be a minor one.”); id. at 23:6–24:20
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 1    (acknowledging McDuffie found a statistically significant increased risk of developing NHL
 2    when there’s a confirmed personal history of previous cancer); Ex. 62 McDuffie 2001 at 1157
 3    (showing an odds ratio of 2.43 (1.71–3.44) for “Previous Cancer”). Dr. Knopf did not report
 4    that Mr. Wistinghausen developed colon cancer before his NHL diagnosis. Id. at 21:20–22. Dr.
 5    Knopf argued he did not consider Mr. Wistinghausen’s personal history because “I don’t rule
 6    out every single risk factor in my report.” Id. at 17–21. But he then acknowledged: “But to
 7    make the report more complete, I should have said he had a personal family -- he had a family
 8    history and personal history of solid tumor malignancies.” Id. at 22:25–23:3.
 9            4.    Other Pesticides—Exposure to pesticides (other than Roundup) is a potential risk
10    factor for NHL. Ex. 16 Wistinghausen Rpt. at 21. Mr. Wistinghausen “used quite a bit of
11    insecticides throughout his lifetime,” Ex. 53 Wistinghausen Dep. at 26:5–8, and listed 19 in his
12    fact sheet, Ex. 63 Wistinghausen PFS at 9–10. Dr. Knopf reported “I cannot eliminate these
13    other exposures as a potential additional contributing or confounding risk factors for Mr.
14    Wistinghausen developing NHL. However, none of the other exposures can be said to be so
15    significant that it would reduce or eclipse the risk presented by Roundup exposure.” Ex. 16
16    Wistinghausen Rpt. at 35. At deposition, he argued that because exposure to other pesticides
17    creates “potential for non-differential misclassification” in epidemiological studies, he could
18    rely on those studies to conclude Roundup was “still a substantial causative element.” Id. at
19    26:15–22. But Dr. Knopf admitted he did not investigate whether the pesticides Mr.
20    Wistinghausen used were carcinogenic; he assumed they were. Id. at 27:18–25. Dr. Knopf did
21    not perform any analysis of Mr. Wistinghausen’s exposure to those other chemicals. Id. at
22    28:10–19. He did not review their active ingredients. Id. at 30:24–31:4. And he did not
23    calculate an internal absorbed dose of those pesticides. Id. at 32:9–17. He further admitted
24    Roundup was not sufficient to cause Mr. Wistinghausen’s specific presentation of NHL:
25                  Is it your opinion that if Mr. Wistinghausen had not used insecticides
                    at all, he would not have developed non-Hodgkin’s lymphoma?
26
                    A. I don’t know. In that case, if he only used the Roundup, I think
27                  that he would not have developed his lymphoma at the time that he
                    did, if at all.
28
                                                     13
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 1    Id. at 30:12–18. His opinion on the degree of risk from these other chemicals was wildly
 2    inconsistent and should therefore be excluded:
 3                  Q. Would you consider Mr. Wistinghausen’s insecticide use to be a
                    minimal, moderate, or substantial risk factor for the development of
 4                  his NHL?
 5                  A. I’m not sure. I would not say it’s minimal or none. Perhaps
                    moderate or substantial.
 6

 7    Id. at 29:8–18.
 8           Dr. Knopf’s error in Mr. Wistinghausen’s age, his failure to consider Mr.
 9    Wistinghausen’s family and personal cancer history, and his inadequate analysis of Mr.
10    Wistinghausen’s extensive exposure to other chemicals render Dr. Knopf’s opinions unreliable
11    and his testimony should be excluded.
12    III.   CONCLUSION
13           For the reasons set forth above, the Court should grant Monsanto’s motion and order the
14    exclusion of Dr. Kevin Knopf’s testimony and grant summary judgment for Monsanto. In
15    addition or in the alternative, the Court should strike Dr. Knopf’s supplemental reports as
16    untimely and unexcused.
17

18    Dated: September 13, 2024                   Respectfully submitted,
19                                                BRYAN CAVE LEIGHTON PAISNER LLP
20
                                                  By: /s/ Linda C. Hsu
21                                                       Linda C. Hsu
                                                  Attorneys for Defendant Monsanto Company
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 1                                  CERTIFICATE OF SERVICE
 2           I HEREBY CERTIFY that on September 13, 2024, a copy of the foregoing was filed
      with the Clerk of the Court through the CM/ECF system, which sent notice of the filing to all
 3    appearing parties of record.
 4
                                                /s/ Linda C. Hsu
 5                                              Linda C. Hsu

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